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                       IN THE UNITED STATES COURT OF APPEALS

                                FOR THE ELEVENTH CIRCUIT

                                  _________________________

                                        No. 20-12003-B
                                  _________________________


KELVIN LEON JONES,
BONNIE RAYSOR,
DIANE SHERRILL,
Individually and on behalf of others similarly
situated,
JEFF GRUVER,
EMORY MARQUIS MITCHELL,
MARQ, et al.,

                                                                    Plaintiffs - Appellees,

JESSE D HAMILTON,

                                                                    Plaintiff,

                                                 versus

GOVERNOR OF FLORIDA,
FLORIDA SECRETARY OF STATE,

                                                                    Defendants - Appellants,

CRAIG LATIMER,
In his official capacity as supervisor of elections
of Hillsborough County Florida, an indispensable
party, et al.,

                                                                    Defendants.

                                 __________________________

                                On Appeal from the United States
                        District Court for the Northern District of Florida
                                 __________________________
         Case 4:19-cv-00300-RH-MJF Document 428 Filed 06/11/20 Page 2 of 2
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ORDER:

         “Defendants-Appellants’ Motion to Expedite Appeal” is GRANTED as follows:

         The initial brief is due June 19, 2020, with the appendix due 7 days after the initial brief is

filed.

         The response brief is due July 17, 2020.

         The reply brief is due July 29, 2020.

         The Clerk is DIRECTED to place this appeal on the argument calendar for the week of

August 10, 2020 in Atlanta, Georgia.




                                                               /s/ Jill Pryor
                                                               UNITED STATES CIRCUIT JUDGE




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